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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION

DEMONTRAY HUNTER, et al.,          )
                                   )
     Plaintiffs,                   )
                                   )        CIVIL ACTION NO.
     v.                            )          2:16cv798-MHT
                                   )               (WO)
KIMBERLY G. BOSWELL, in            )
her official capacity as           )
the Commissioner of the            )
Alabama Department of              )
Mental Health,                     )
                                   )
     Defendant.                    )

                        OPINION AND ORDER

    The claim presented in this long-running class action

is that the Alabama Department of Mental Health (ADMH)

fails to provide timely evaluations of the competency to

stand trial of pretrial detainees in Alabama and timely

competency   restoration      treatment      for   those    detainees

found incompetent to stand trial.1             The claim rests on


    1. In Hunter v. Boswell, No. 2:16-cv-798-MHT, 2021
WL 972879 (M.D. Ala. Feb. 25, 2021), the court set forth
in some detail its understanding of the process by which
pretrial detainees in the Alabama state court system have
their competency to stand trial evaluated and receive
competency restoration treatment when found incompetent.
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the Due Process Clause of the Fourteenth Amendment, as

enforced through 42 U.S.C. § 1983.

    A consent decree was entered in this case in January

2018, see Hunter v. Beshear, No. 2:16-cv-798-MHT, 2018

WL 564856 (M.D. Ala. Jan. 25, 2018), and the parties

subsequently    agreed    upon    a   plan   to   remediate     ADMH’s

noncompliance with the consent decree, see Joint Plan

(Doc. 137).     The monitoring of this consent decree was

originally scheduled to end in January 2021, but it has

been extended twice: first to January 2022 as part of the

parties’ remedial plan, and more recently to January

2023.   See Orders (Doc. 138 & Doc. 181).                Following a

report by the parties in January 2020 showing continued

noncompliance by ADMH, see Joint Report (Doc. 142), the

court scheduled a series of status conferences to take

place every six months to follow up on the State’s

progress toward compliance. See Order (Doc. 148).




At a hearing on February 26, 2021, the parties verbally
agreed that the court’s understanding is correct.

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      At the second of these scheduled bi-annual status

conferences       on    February        22,        2021,        the    plaintiffs

expressed growing concern that ADMH still appeared not

to be making significant progress toward compliance on

several critical areas of deficiency.                       Two problems lie

at the heart of this litigation: Pretrial detainees wait

too long to have their competency evaluated, and those

found    incompetent        wait   too       long     to    be    admitted     for

competency restoration treatment.                    The data presented by

the   plaintiffs       at   the    February         22     status      conference

showed    that,    more     than    three          years    after      the   court

entered the consent decree agreed upon by the parties,

wait times for outpatient evaluations remain above the

substantial       compliance       thresholds         established         by   the

parties’     agreements,          and       wait    times        for    inpatient

evaluations and treatment admissions have barely improved

at all since the consent decree was entered.

      Pursuant to the consent decree, pretrial detainees

should at this point wait no more than 34 days to receive

a   competency     evaluation       after          such    an    evaluation     is


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ordered.       They should then wait no more than 34 days to

enter treatment after being found incompetent to stand

trial.      There are two types of competency evaluations at

issue: outpatient evaluations, which are conducted in

jails,        prisons,     or     non-institutional            therapeutic

settings; and inpatient evaluations, which are conducted

in the State’s hospitals.              The consent decree subjects

each type of evaluation to the same 34-day deadline.2

      The      timelines        for    outpatient        and    inpatient

evaluations       and    for     detainees     to   be    admitted     for

treatment following a finding of incompetence are the

three primary metrics monitored under the consent decree.

Of    these    three,    only    the   wait    times     for    outpatient

evaluations have shown any improvement over the course

of the monitoring period, and the State continues to be

non-compliant in most months on those evaluations.                         In




    2. The consent decree in fact mandates wait times
of no more than 30 days for both evaluations and
admissions. See Consent Decree (Doc. 94) at 10-11. The
court is giving the State the benefit of using the
substantial compliance threshold rather than the actual
requirements of the consent decree. See id. at 13.
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April 2018, detainees for whom outpatient evaluations

were requested waited 294.5 days on average to receive

their evaluations.3        See January 2021 Compliance Report

(Doc. 168) at 3.       By January 2021, the average wait for

outpatient evaluations in date-of-receipt order was 137.3

days, or 81.3 days when considered without regard to

detainees whose turn to receive an evaluation has been

skipped.      See   Supplement      to   January    2021    Compliance

Report (Doc. 172) at 5.4        With the exception of an outlier

in May 2018, the months of September through November



    3. April 2018 is the first month for which
monitoring data are included in the parties’ compliance
reports.

    4. The consent decree requires ADMH to provide
evaluations in the order in which it receives evaluation
requests, but the agreement has been modified to allow
ADMH some flexibility to provide outpatient evaluations
out of order when necessary.     As a result, compliance
reports now show two numbers for a given month’s
outpatient evaluation wait time: one reflecting the
average delay for the evaluations actually completed
during that month, and the other including in that
average the amount of time that detainees have been
waiting who have not yet been evaluated, but who would
have been evaluated if ADMH were proceeding in
date-of-receipt order.        See, e.g., January 2021
Compliance Report (Doc. 168) at 4-5. The latter number
is consistently greater than the former.
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2020 were the only months since monitoring began in which

the   State    has    been    below        the    substantial    compliance

threshold for outpatient evaluations, and in none of

those months was the State compliant with the mandated

timelines when considered in date-of-receipt order.

      More     troublingly,        wait           times    for    inpatient

evaluations have remained stagnant at best through the

entire period of monitoring.                     In May 2018, the first

month    for   which    data     are       available,     wait    times      for

inpatient evaluations averaged 229.33 days.                      See January

2021 Compliance Report (Doc. 168) at 11.                         In January

2021, the wait times for inpatient evaluations averaged

155 days, and they averaged 282 days the previous month.

See   Filing     of    Supplemental          Data     (Doc.     175)   at    5.

Excluding      the    women’s    ward       at    Bryce   Hospital,        which

generally      has    shown     shorter          delays   throughout        this

litigation, the wait time for inpatient evaluations in

January 2021 was 441 days.             See id. at 6.          While in most

months    these       numbers    reflect           just   one    or    a     few

evaluations--in January 2021, for instance, only one male


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detainee received an inpatient evaluation--the long wait

times are persistent across months.                See id.       As the

plaintiffs say, the timelines for inpatient evaluations

“generally remain exceptionally high.”              Id. at 4.

      The same pattern of stagnation or regression applies

to the wait times for male detainees in particular to be

admitted for competency restoration treatment once they

are found incompetent.          Wait times for admissions into

Taylor Hardin Hospital--the only male ward in operation

at the time the consent decree was entered--averaged

216.67 days in May 2018, the first month with available

data.    See January 2021 Compliance Report (Doc. 168) at

20.     Today, wait times to be admitted to Taylor Hardin

for competency restoration treatment average 365.9 days.

See Supplement to January 2021 Compliance Report (Doc.

172) at 8.      Wait times at Hillcrest Hospital, the male

ward that opened after monitoring began, average 347

days.    See id. at 9.      In most months, the wait times for

men to be admitted for treatment fall “between 300 and

500 days,” which is “well out of range” of the substantial


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compliance threshold of 34 days.           Filing of Supplemental

Data (Doc. 175) at 10.          Though these monthly averages

again reflect a small number of detainees admitted in any

given month, these figures also remain stubbornly high

across months, and moreover they do not reflect how long

any detainees who were not admitted that month may have

been waiting for treatment.

    In other words, a male pretrial detainee ordered to

receive an outpatient competency evaluation at the time

the consent decree was entered in this case three years

ago could expect to wait about 511 days to be evaluated

and admitted to Taylor Hardin for treatment.               In January

2021, three years into the monitoring period, that same

detainee could expect to wait 503 days.5             A male detainee

ordered to receive an inpatient evaluation three years




    5. These figures do not include the time it takes
for evaluators to complete their reports after an
evaluation takes place, a metric on which ADMH has been
near compliance since the consent decree was entered.
See January 2021 Compliance Report (Doc. 168) at 6. Nor
do these numbers include the time it takes for state
courts to find detainees incompetent after receiving such
evaluation reports.
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ago would have expected to wait 446 days to be evaluated

and admitted to Taylor Hardin; the same detainee should

expect to wait nearly twice that long, about 807 days,

today.     Given that the consent decree requires ADMH by

now to have brought these wait times down to about two

months in total, the court cannot fault the plaintiffs

for their concern that         “there does not appear to be a

pattern or trend indicating progress toward sustained,

long-term    compliance     with    the   terms    of    the   Consent

Decree.”    Id. at 12.6

    As both parties agreed during a follow-up status

conference held on February 26, 2021, it appeared that

ADMH was unlikely to achieve the necessary improvements

to its competency evaluation and restoration process




    6. The State notes that it has made significant
strides on one issue: reducing the backlog of outstanding
outpatient evaluations, which stood at around 400 when
this lawsuit was initiated and has been reduced to
approximately 50.    See January 2021 Compliance Report
(Doc. 168) at 28. This achievement is commendable but
does not relieve the State of its obligations to reduce
wait times for inpatient evaluations and treatment
admissions, responsibilities for which, as noted above,
the State has shown little if any progress.
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before January 2022, when monitoring of this suit was at

that point scheduled to expire.              Accordingly, the parties

agreed to extend monitoring to January 2023.                     See Joint

Request for Extension of Consent Decree (Doc. 180) at 2.

The parties have also presented two additional proposals

for    what    should    be    done    to    remedy     ADMH’s   continued

failure to make noticeable progress on several of the

central issues identified by this litigation.                    The first

of these proposals is that the provision of competency

evaluations should be de-coupled from the provision of

evaluations of detainees’ sanity at the time of their

charged       offense.        According      to   the    parties,    these

evaluations are often ordered by state courts at the same

time    and     provided      to     those    courts     simultaneously,

allegedly      for   the      sake    of    efficiency.      But    sanity

evaluations--which this suit does not address--are much

more complicated than competency evaluations, and the

time it takes for an evaluator to conduct the former

delays unnecessarily the provision of the latter when the

two are joined together.              The parties propose that the


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evaluations should be separated, with the competency

evaluations conducted first so that they can take place

more quickly.

       Based on the representations made at the status

conferences on February 22 and February 26, 2021, the

court is skeptical that de-coupling these evaluations

will    have     a    transformative         effect     on   the    lengthy

competency evaluation and restoration delays at the heart

of this suit.         Timelines for outpatient evaluations have

shown    some    improvement         even    though     they    apparently

continue to be coupled with sanity evaluations, while

delays for inpatient evaluations at Hillcrest Hospital

have not improved even though the State has already

de-coupled those evaluations.                But moreover, the court

has    serious       concerns    that      the    parties’     de-coupling

proposal, if it were not accompanied by some assurance

that    state    judges       will   act    on    competency    evaluation

reports when they receive them, could have the effect of

improving       the    data    monitored         in   this   case   without




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actually    improving    the    length    of    time     that   pretrial

detainees wait for competency treatment.

       As noted above, the parties have represented that

competency and sanity evaluations are typically ordered

simultaneously by state judges, and they say that common

practice in the state courts is to wait to act on a

competency evaluation report until the court receives the

sanity evaluation report as well.              However, the consent

decree in this case does not monitor the amount of time

that    detainees    wait    between     the    submission       of   the

competency evaluation report to the state court and the

state    court’s    determination        that    the      detainee       is

incompetent    to    stand     trial.      Thus,    as    the   parties

acknowledged on the record during the February 26 status

conference, if ADMH de-coupled competency and sanity

evaluations and provided competency evaluation reports

to the state courts as soon as the reports were complete,

but those courts continued not to schedule competency

hearings until the sanity reports were finished as well,

this de-coupling would not increase at all the speed with


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which people are found incompetent and obtain competency

restoration treatment.           Instead, the de-coupling would

shift the locus of some of the delays that detainees

experience into a segment of the process that the consent

decree does not track, making the State appear to be

progressing without actually changing overall wait times

for   the     plaintiffs    or    similarly      situated      pretrial

detainees.

      This suit concerns persistent delays throughout the

State’s competency evaluation and restoration treatment

process.      The fact that delays arising while state courts

are   considering      competency      evaluation      reports     fall

outside the specific ambit of the consent decree does not

free the parties to finesse the data they track to make

the State seem to be making more progress than it is.

The   court    is   accordingly    troubled     that    both   parties

failed to make explicit the likelihood that the results

of this de-coupling proposal may be more cosmetic than

substantive.




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    The parties’ second proposal was that the State

develop a remedial plan and present it for consideration

by the plaintiffs and the court.             The court will adopt

this proposal, as it appropriately provides the State the

opportunity to make the first attempt at fixing its

ongoing      deficiencies         before       more       significant

intervention is necessary.          The State asked for 90 days

to develop this remedial plan; the plaintiffs suggested

60 days instead.        The court will use the plaintiffs’

proposed timeline, dated from the February 26 status

conference at which the court made clear that it would

adopt this proposal.

    However, this proposal alone is not sufficient. Well

over a year ago, the parties similarly agreed on a plan

proposed by ADMH to remediate its noncompliance with the

consent decree.       See Joint Plan (Doc. 137) at 2.                    In

short, the plan did not work; the State remains not far

from square one more than three years after the consent

decree was entered.       More regular scrutiny of the State’s

efforts to comply with the consent decree is necessary


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to ensure real progress and to avoid further protraction

of court monitoring in this case.

    As such, in addition to ordering the defendant to

develop a proposed remedial plan and provide it to the

court and the plaintiffs within 60 days, the court will

schedule    further    status    conferences         in   this    case    to

determine     what    actions    ADMH       is   taking     to    achieve

substantial     compliance      with    the      consent    decree       and

whether    such   actions     are     effective.          These    status

conferences will take place every six weeks, beginning

once the State’s proposed remedial plan is complete,

until either monitoring in this case concludes or the

State makes sufficient progress that such conferences

become    unnecessary.        Ahead    of     each    conference,        the

parties should file a joint report detailing what steps

have been taken since the previous conference to bring

ADMH closer to compliance, and they should be prepared

to discuss why these steps have been taken and whether

they have been effective.




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       Finally, in preparing the previous remedial plan to

address ADMH’s noncompliance, the parties obtained the

services of a consultant, which provided two reports

identifying barriers to compliance and recommending ways

to    eliminate     these    barriers      and   correct    the   State’s

deficiencies.          See Joint Plan (Doc. 137) at 2.                  The

parties should consider whether and how this consultant

or another outside expert could assist the State in

making the major improvements necessary for it to achieve

substantial compliance with the consent decree.

                                   * * *

       Accordingly, it is ORDERED that:

       (1) Defendant should prepare a proposed remedial

plan to address ADMH’s continued noncompliance with the

consent decree.         This proposed plan should be filed with

the court and provided to the plaintiffs on or before

April 27, 2021.          This plan should identify the State’s

barriers       to    compliance      and    propose      solutions      for

addressing those barriers.




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    (2) The plaintiffs should file a response to the

State’s     proposed     remedial        plan     and     suggest     any

alterations to it by May 18, 2021.                      The court will

determine at that time whether to hold a hearing on the

proposed plan and the plaintiffs’ response.

    (3) By 5:00 p.m. on March 26, 2021, the parties

should file a joint report explaining whether and how the

consultant previously retained in this case or another

outside expert could assist the State in developing its

proposed remedial plan or otherwise achieving substantial

compliance with the consent decree.

    (4) Status       conferences         to     assess    the    State’s

progress    will   be   held   at    9:00     a.m.   on   each   of   the

following dates: May 28, 2021; July 9, 2021; August 20,

2021; October 1, 2021; November 12, 2021; and December

23, 2021.    The courtroom deputy is to arrange for these

status conferences to be conducted by videoconference.

After the last of the conferences listed above, the court

will re-assess whether further conferences are necessary.

This order supersedes the court’s previous order setting


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status conferences every six months regarding defendant’s

noncompliance.      See Order (Doc. 148).

       (5) Three days before each status conference listed

above, the parties should file a joint report explaining

what     steps   have     been     taken      to    improve      ADMH’s

noncompliance since the previous status conference.

       DONE, this the 22nd day of March, 2021.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE




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